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 6   Attorneys for Plaintiff
     The United States of America
 7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA,                           Case No. 2:20-mj-00948-NJK

10                   Plaintiff,                          Stipulation for an Order
                                                         Directing Probation to Prepare
11          v.                                           a Criminal History Report

12   JUAN JOSE MORENO-GALLARDO,
       aka “Juan Jose Moreno,”
13
            Defendant.
14

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16          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

17   Trutanich, United States Attorney, and Jared L. Grimmer, Assistant United States

18   Attorney, counsel for the United States of America, and Brandon C. Jaroch, Assistant

19   Federal Public Defender, counsel for Defendant JUAN JOSE MORENO-GALLARDO,

20   that the Court direct the U.S. Probation Office to prepare a report detailing the defendant’s

21   criminal history.

22          This stipulation is entered into for the following reasons:

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1           1.       The United States Attorney’s Office has developed an early disposition

2    program for immigration cases, authorized by the Attorney General pursuant to the

3    PROTECT ACT of 2003, Pub. L. 108-21. Pursuant to this program, the government has

4    extended to the defendant a plea offer in which the parties would agree to jointly request an

5    expedited sentencing immediately after the defendant enters a guilty plea.

6           2.       The U.S. Probation Office cannot begin obtaining the defendant’s criminal

7    history until after the defendant enters his guilty plea unless the Court enters an order

8    directing the U.S. Probation Office to do so. Such an order is often entered in the minutes of

9    a defendant’s initial appearance when charged by indictment.

10          3.       The U.S. Probation Office informs the government that it would like to begin

11   obtaining the criminal history of defendants eligible for the early disposition program as

12   soon as possible after their initial appearance so that the Probation Office can complete the

13   Presentence Investigation Report by the time of the expected expedited sentencing.

14          4.       Accordingly, the parties request that the Court enter an order directing the

15   U.S. Probation Office to prepare a report detailing the defendant’s criminal history.

16          DATED this 4th day of November, 2020.

17                                                 Respectfully submitted,

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                                                   NICHOLAS A. TRUTANICH
19                                                 United States Attorney

20    /s/ Brandon C. Jaroch                        /s/ Jared L. Grimmer
      BRANDON C. JAROCH                            JARED L. GRIMMER
21    Assistant Federal Public Defender            Assistant United States Attorney
      Counsel for Defendant JUAN JOSE
22    MORENO-GALLARDO

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1                            UNITED STATES DISTRICT COURT
2                                 DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                            Case No. 2:20-mj-00948-NJK

4                    Plaintiff,                           Order Directing Probation to Prepare
                                                          a Criminal History Report
5           v.

6    JUAN JOSE MORENO-GALLARDO,
       aka “Juan Jose Moreno,”
7
                     Defendant.
8

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10          Based on the stipulation of counsel, good cause appearing, and the best interest of

11   justice being served:

12          IT IS HEREBY ORDERED that the U.S. Probation Office is directed to prepare a

13   report detailing the defendant’s criminal history.

14          DATED this 5th day of November, 2020.

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16                                               HONORABLE NANCY J. KOPPE
                                                 UNITED STATES MAGISTRATE JUDGE
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